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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JENNIFER MCCAMBRIDGE,                                     CASE NO.: 8:16-cv-01120-EAK-MAP

        Plaintiff,
vs.

COMENITY CAPITAL BANK,

       Defendant.
__________________________________/

                         PLAINTIFF’S NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, JENNIFER MCCAMBRIDGE, by and through her undersigned

counsel, and hereby files this Notice of Settlement, and states that Plaintiff, JENNIFER

MCCAMBRIDGE, and Defendant, COMENITY CAPITAL BANK, have come to an amicable

settlement agreement.

Date: November 22, 2016
                                              BOSS LAW

                                              /s/ Christopher W. Boss
                                              Christopher W. Boss, Esq.
                                              FL Bar No.: 13183
                                              Service Email: CPservice@protectyourfuture.com
                                              9887 4th Street N., Suite 202
                                              St. Petersburg, FL 33702
                                              Phone: (727) 471-0039
                                              Fax: (888) 503-2182


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of November, 2016, I electronically filed the

foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

document is being served this day on all counsel of record or pro se parties either via transmission




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of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

                                              /s/ Christopher W. Boss
                                              Christopher W. Boss (FBN 0013183)




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